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                             9
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DAVIS WRIGHT TREMAINE LLP




                                                           IN THE UNITED STATES DISTRICT COURT
                            12
                                                       THE NORTHERN DISTRICT OF CALIFORNIA
                            13
                                                                    SAN JOSE DIVISION
                            14
                                 UNITED STATES OF AMERICA,                       Case No. cr-18-00258-EJD
                            15
                                              Plaintiff,
                            16                                                   DECLARATION OF STEPHEN A.
                                                                                 CAZARES IN SUPPORT OF MR.
                                       v.
                            17                                                   BALWANI’S REPLY IN SUPPORT OF
                                                                                 DEFENDANTS’ MOTION TO COMPEL
                                 ELIZABETH A. HOLMES and
                            18                                                   DISCOVERY AND BRADY MATERIALS
                                 RAMESH “SUNNY” BALWANI,
                            19                Defendants.                        Date: June 28, 2019
                            20                                                   Time: 10 a.m.
                                                                                 CTRM: 4
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                                                                                 Hon. Edward J. Davila
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                                 CAZARES DECL. SUPP. BALWANI’S REPLY
                                 IN SUPP. OF MOT. TO COMPEL
                                 Case No. CR-18-00258 EJD
                                 4821-3702-9787v.4 0103509-000002
                                   Case 5:18-cr-00258-EJD Document 82-1 Filed 06/24/19 Page 2 of 3


                             1          I, Stephen A. Cazares, declare as follows:
                             2          1.     I am a partner with the law firm of Davis Wright Tremaine LLP and am an
                             3   attorney defending Ramesh Balwani in this matter and in the SEC matter. I make this
                             4   declaration in support of Mr. Balwani’s Reply in Support of Defendants’ Motion to Compel
                             5   Discovery and Brady Materials.
                             6          2.     Attached as Exhibit A is a true and correct copy of a letter from Jeffrey
                             7   Coopersmith, my partner at Davis Wright Tremaine, to Rebecca Falk, an Assistant United States
                             8   Attorney representing both the FDA and CMS, dated February 14, 2019.
                             9          3.     In response to the subpoenas served by Mr. Balwani on FDA and CMS, the
                            10   agencies have directly produced to Mr. Balwani a total of 161 documents. CMS produced 43 of
                            11   these documents, and FDA produced 118 documents.
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                            12          4.     Attached as Exhibit B is a true and correct copy of an email conversation between
                            13   Ms. Falk and Mr. Coopersmith, dated between April 2 and April 17, 2019.
                            14          5.     Attached as Exhibit C is a true and correct copy of an email conversation between
                            15   Ms. Falk and myself, dated between May 31 and June 3, 2019.
                            16          6.     Attached as Exhibit D is a true and correct copy of an email conversation between
                            17   Ms. Falk and myself, dated between June 14 and 17, 2019.
                            18          7.     Attached as Exhibit E is a true and correct copy of an email conversation between
                            19   Claire Cormier, an Assistant United States Attorney representing both the FDA and CMS, Mr.
                            20   Coopersmith, and myself, dated between June 14 and 21, 2019.
                            21          8.     Attached as Exhibit F is a true and correct copy of a letter from Laura Draski,
                            22   representing the FDA, to Mr. Coopersmith, dated March 22, 2019.
                            23          9.     The FDA produced documents to the SEC and/or DOJ during their investigations
                            24   into this matter, which were subsequently produced to Mr. Balwani. Those productions include
                            25   some internal FDA communications.
                            26          10.    Attached as Exhibit G is a true and correct copy of a letter from Lindsey Turner,
                            27   representing CMS, to Mr. Coopersmith, dated September 27, 2018.
                            28                                                   1
                                 CAZARES DECL. SUPP. BALWANI’S REPLY
                                 IN SUPP. OF MOT. TO COMPEL
                                 Case No. CR-18-00258 EJD
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                             1          11.    On a June 29, 2019 telephone conference, counsel for the California Department
                             2   of Public Health (“CDPH”) confirmed to me that CDPH’s 2013 CLIA survey of Theranos was a
                             3   CMS survey and all records related to the 2013 CLIA survey are CMS records.
                             4

                             5          Executed this 24th day of June, 2019 at Los Angeles, California.
                             6
                                                                                       /s/ Stephen A. Cazares
                             7                                                          Stephen A. Cazares

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                                 CAZARES DECL. SUPP. BALWANI’S REPLY
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